       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Freddie Beckham, III
       v. Commonwealth of Virginia
       Record No. 1146-16-2
       Opinion rendered by Chief Judge Huff on
        May 30, 2017

    2. Tyrone Logan, s/k/a Tyrone Lamont Logan
       v. Commonwealth of Virginia
       Record No. 0867-16-2
       Opinion rendered by Judge Beales on
        June 20, 2017

    3. Edy Canales
       v. Marvic Alejandro Torres Orellana
       Record No. 1073-16-4
       En Banc Opinion rendered by Judge Humphreys on
        June 20, 2017

    4. Timothy Kenneth Bartley
        v. Commonwealth of Virginia
        Record No. 1336-16-3
        Opinion rendered by Judge Petty on
        June 20, 2017

    5 Hassan Christopher Atkins
       v. Commonwealth of Virginia
       Record No. 1542-16-2
       Opinion rendered by Judge Decker on
       July 5, 2017
